Case 2:04-cr-20265-STA Document 61 Filed 07/01/05 Page 1 01 2 PagelD 69

lN THE uNiTED sTATEs DlsTRicT counT nom sv_ ______M
FOR THE wEsTEaN DlsTchT oF TENNEssEE

 

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uNlTED sTATEs 0F AMERiCA, CLEF%U.S.TN DiSTRiCTGOim
TNMEMPHS
Plaimifr,
vs. cn. No. 04-20265-01-\3
BRIAN BELL,
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on June 23, 2005. At that time counsel for
the defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Monday, Ju|y 25, 2005l at 9:30 a.m., in Courtroom 1l 11th Floor of the
Federal Building, Memphis, TN.

The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need tor a speedy trial.

|TlS SO ORDEF~IED this 50 L`day J ne, 2005.

 

U|EL BREEN
N[|)T D STATES D|STR|CT JUDGE

Thls document entered on the docket sheet in co©pllance § /
with Fiule 55 and/or 32(b) Fl“-iCrP on

   

UNITED sTATE DISTRIC COURT - WE"RNTE D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
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July 1, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

